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                                          March 24, 2020

 Via Electronic Submission
 United States Bankruptcy Court for the Western District of Pennsylvania
 5414 U.S. Steel Tower
 600 Grant Street
 Pittsburgh, PA 15219

 Re:    Debtor:        5171 Campbell Land Co LLC
        Petition #:    19-22715-CMB

 Dear Sir or Madam,

 Enclosed please find the following:

        1. Motion For Relief From Automatic Stay

 Should you have any questions please do not hesitate to contact my office.

                                       Very Truly Yours,

                                       /s Ryan M. FLahrety

                                       Ryan M. Flaherty, Esq.

 Enclosures
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                           UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 5171 Campbell Land Co LLC, Debtor                             Case No. 19-22715-CMB
                                                               Chapter 11

                                                )
 Vicki Friedman,                                )
                                                )
                 Movant,                        )
                                                )
 v.                                             )
                                                )
 5171 Campbell Land Co.,                        )
                                                )
                 Respondent.                    )
                                                )

                      MOTION FOR RELIEF FROM AUTOMATIC STAY

         Now comes the Movant, Vicki Friedman, and hereby moves this Court pursuant to 11
 U.S.C. § 362(d) for relief from the automatic stay entered in this action per 11 U.S.C. § 362(a) to
 permit her to pursue her bodily injury claim in the Clarion County Court of Common Pleas
 arising out of a slip and fall incident which took place on or about June 12, 2019 to the extent
 that the debtor, 5171 Campbell Land Co., or any insurance carrier, shall be financially
 responsible.


 In support thereof, creditor Vicki Friedman states as follows:
 1. This is a proceeding for relief from the automatic stay pursuant to 11 U.S.C. § 362(d)(1) and
      Fed. R. Bankr. P. 4001.
 2. On July 8, 2019, Defendant 5171 Campbell Land Co., Inc. filed a voluntary petition under
      Chapter 11 of the United States Bankruptcy Code.
 3. Prior to the Petition Date, on July 31, 2019, Vicki Friedman filed claims in the Court of
      Common Pleas of Lawrence County against 5171 Campbell Land Co. for personal injuries
      arising out of a June 12, 2019 slip and fall incident at Perkins Restaurant located at 3334
      Wilmington Rd, New Castle, PA 16105.
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 4. On August 19, 2019, Vicki Friedman filed a Praecipe to Reinstate her Complaint against
    5171 Campbell Land Co. for personal injuries arising out of the June 12, 2019 slip and fall
    incident at Perkins Restaurant located at 3334 Wilmington Rd, New Castle, PA 16105.
 5. This relief is sought for the limited purpose of enabling Vicki Friedman to continue to pursue
    her bodily injury tort claims against 5171 Campbell Land Co.
 6. Any judgment or settlement of the claims would be funded by the Argo Insurance policy held
    by the Debtor.
 7. Creditor, Vicki Friedman, submits that relief from the automatic stay should be granted for
    cause as contemplated by Section 362(d) of the Bankruptcy Code on account of, without
    limitation, the following reasons: Debtor will not be prejudiced by an order from this court
    lifting the automatic stay to the extent of the insurance carried by the debtor at the time of the
    incident, because if Creditor, Vicki Friedman, were to obtain a judgment against the Debtor
    within the insurance policy limits, said monies would be paid by the Argo Insurance policy
    held by Debtor, not by the Debtor. Therefore, such a judgment would not affect the assets of
    the Debtor’s estate.


    WHEREFORE, creditor, Vicki Friedman, moves this court for relief from the automatic stay
 so that she may pursue the bodily injury tort claims and a possible civil action against the debtor,
 5171 Campbell Land Co., to the extent of any applicable liability insurance policy limits.
 Furthermore, Creditor Vicki Friedman moves the court to deny Debtor from being discharged to
 the extent their insurance company will be responsible for damages arising out of the June 12,
 2019 incident at Perkins. A proposed order is attached hereto as Exhibit A.

                                               Respectfully Submitted,
                                               Vicki Friedman, By her Attorney,


                                                       /s/Ryan M. Flaherty, Esquire
                                               Ryan M. Flaherty, PA ID# 314552
                                               Simon & Simon, PC
                                               707 Grant St. Suite 1200
                                               Pittsburgh, PA 15219
                                               724-471-8242
    Date: 3/24/2020                            RyanFlaherty@gosimon.com
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                         UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 5171 Campbell Land Co LLC, Debtor                           Case No. 19-22715-CMB
                                                             Chapter 11

                                              )
 Vicki Friedman,                              )
                                              )
                Movant,                       )
                                              )
 v.                                           )
                                              )
 5171 Campbell Land Co.                       )
                                              )
                Respondent.                   )
                                              )

      ORDER LIFTING AUTOMATIC STAY AS TO PERSONAL INJURY CLAIMS OF
                            VICKI FRIEDMAN

 And now, this ______ day of ____________, 2020, upon motion of personal injury claimant,
 Vicki Friedman for relief from the automatic stay under section 363 of the Bankruptcy code, it is
 hereby:

 ORDERED that the Automatic Stay is LIFTED with respect to the bodily injury claims to
 proceed to the extent of any available bonds or insurance coverage including that afforded by
 Argo Insurance and that 5171 Campbell Land Co. is hereby denied discharge ability to the extent
 that Argo Insurance will be responsible for damages to Vicki Friedman arising out of the June
 12, 2019 fall down incident at Perkins.

                                                     By the Court:


                                                     ________________________
                                                     The Honorable
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                                 CERTIFICATE OF SERVICE

        I, Marc I. Simon, attorney for plaintiff, certify that the foregoing Plaintiff’s Motion for

 Relief from Automatic Stay was served via electronic mail on March 24, 2020 upon the

 following:

                                           John Deasy, Esquire
                                        JFDeasy@MDWCG.com

                                        Debtor 5171 Campbells Land Co., Inc.
                                        Robert O Lampl, Esquire
                                       Email: rol@lampllaw.com

                                       U.S. Trustee
                                       Office of the United States Trustee
                                       Norma Hildenbrand, Esquire
                                       On Behalf of the United States Trustee Office of the United
                                       States Trustee
                                       Email: Norma.L.Hildenbrand@usdoj.gov

                                       Creditor Committee
                                       Official Committee Of Unsecured Creditors
                                       c/o Kirk B. Burkley, Esq.
                                       Robert S. Bernstein, Esq.
                                       Email: rbernstein@bernsteinlaw.com




                                               Respectfully Submitted,
                                               Vicki Friedman, By her Attorney,


                                                       /s/Ryan M. Flaherty, Esquire
                                               Ryan M. Flaherty, PA ID# 314552
                                               Simon & Simon, PC
                                               707 Grant St. Suite 1200
                                               Pittsburgh, PA 15219
                                               724-471-8242
    Date: 3/24/2020                            RyanFlaherty@gosimon.com
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           IN THE UNITED STATES BANKRUPTCY COURT FOR THE WESTERN DISTRICT OF
                                     PENNSYLVANIA

In re:                                             :
                                                   : Case No. 19-22715-CMB
Vicki Friedman,                                    : Chapter 11
                                                   :
Debtor(s).                                         :
Vicki Friedman,                                    :
                             Movant(s),           :
v.                                                :
                                                   :
5171 Campbell Land Co.,                            :
Respondent(s).                                     :


         NOTICE OF HEARING AND RESPONSE DEADLINE REGARDING MOTION OF VICKI
          FRIEDMAN FOR RELIEF FROM AUTOMATIC STAY (TELEPHONIC PROCEDURE
                              EFFECTIVE MARCH 16, 2020)

TO THE RESPONDENT(S):

          You are hereby notified that the Movant seeks an order affecting your rights or property.

         You are further instructed to file with the Clerk and serve upon the undersigned attorney for Movant a
response to the Motion by no later than April 13, 2020 (i.e., seventeen (17) days after the date of service
below), in accordance with the Federal Rules of Bankruptcy Procedure, the Local Rules of this Court, and the
general procedures of the presiding judge as found on the Court’s webpage at www.pawb.uscourts.gov. If you
fail to timely file and serve a written response, an order granting the relief requested in the Motion may be
entered and the hearing may not be held. Please refer to the calendar posted on the Court’s webpage to verify
if a default order was signed or if the hearing will go forward as scheduled.

You should take this Notice and the Motion to a lawyer at once.

        A telephonic hearing will be held on April 23, 2020, at 2:00 pm. before Judge Carlota M. Bohm. Only
a limited time of ten (10) minutes is being provided on the calendar. No witnesses will be heard. If there is an
issue of fact, an evidentiary hearing will be scheduled by the Court for a later date. Parties or counsel of
record who intend to participate in the hearing shall appear telephonically and shall make arrangements as
directed by Judge Bohm's Modified Telephonic Procedures at http://www.pawb.uscourts.gov/procedures-1 at
least 24 hours in advance.

Date of Service: March 24, 2020
                                                                 Respectfully Submitted,

                                                                 Vicki Friedman, By her Attorney,

                                                                 /s/Ryan M. Flaherty, Esquire

                                                                 Ryan M. Flaherty, PA ID# 314552
                                                                 Simon & Simon, PC
                                                                 707 Grant St. Suite 1200
                                                                 Pittsburgh, PA 15219
                                                                 724-471-8242
                                                                 Date: 3/24/2020
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                                    CERTIFICATE OF SERVICE

I, Marc I. Simon, attorney for plaintiff, certify that the foregoing Plaintiff’s Motion for Relief from
Automatic Stay, and Notice of Hearing was served via electronic mail, and the ECF docket on March 24,
2020 upon the following:
                                             John Deasy, Esquire
                                           JFDeasy@MDWCG.com

                                Debtor 5171 Campbells Land Co., Inc.
                                      Robert O Lampl, Esquire
                                     Email: rol@lampllaw.com

                                             U.S. Trustee
                                 Office of the United States Trustee
                                     Norma Hildenbrand, Esquire
               On Behalf of the United States Trustee Office of the United States Trustee
                               Email: Norma.L.Hildenbrand@usdoj.gov

                                           Creditor Committee
                              Official Committee Of Unsecured Creditors
                                        c/o Kirk B. Burkley, Esq.
                                        Robert S. Bernstein, Esq.
                                 Email: rbernstein@bernsteinlaw.com



                                            Respectfully Submitted,
                                            Vicki Friedman, By her Attorney,


                                            /s/Ryan M. Flaherty, Esquire
                                            Ryan M. Flaherty, PA ID# 314552
                                            Simon & Simon, PC
                                            707 Grant St. Suite 1200
                                            Pittsburgh, PA 15219
                                            724-471-8242
Date: 3/24/2020                             RyanFlaherty@gosimon.com
